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12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14                                           OAKLAND
15
     IMMIGRANT LEGAL RESOURCE CENTER;                Case No. 4:20-cv-05883-JSW
16   EAST BAY SANCTUARY COVENANT;
     COALITION FOR HUMANE IMMIGRANT                  PLAINTIFFS’ NOTICE OF MOTION AND
17   RIGHTS; CATHOLIC LEGAL IMMIGRATION              MOTION FOR PRELIMINARY
     NETWORK, INC.; INTERNATIONAL                    INJUNCTION & MEMORANDUM OF
18   RESCUE COMMITTEE; ONEAMERICA;                   POINTS AND AUTHORITIES IN
     ASIAN COUNSELING AND REFERRAL                   SUPPORT THEREOF, AND PETITION
19   SERVICE; ILLINOIS COALITION FOR                 FOR REVIEW AND REQUEST FOR STAY
     IMMIGRANT AND REFUGEE RIGHTS,
20                                                   Assigned to Hon. Jeffrey S. White
                    Plaintiffs,
21                                                   Date:         October 9, 2020
            v.                                       Time:         9:00 a.m.
22                                                   Courtroom:    5, 2nd Floor
     CHAD F. WOLF, under the title of Acting
23   Secretary of Homeland Security; U.S.            JURY TRIAL DEMANDED
     DEPARTMENT OF HOMELAND SECURITY;
24   KENNETH T. CUCCINELLI, under the title of
     Senior Official Performing the Duties of the
25   Deputy Secretary of Homeland Security; U.S.
     CITIZENSHIP & IMMIGRATION SERVICES
26

27                  Defendants.

28


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 1          TO ALL PARTIES AND THEIR COUNSEL: PLEASE TAKE NOTICE that on October 9,

 2   2020, at 9:00 a.m., or as soon thereafter as counsel may be heard, at the United States District Court

 3   for the Northern District of California, Courtroom 5, 2nd Floor, 1301 Clay Street, Oakland, CA

 4   94612, Plaintiffs will, and hereby do, move for a preliminary injunction against Defendants the

 5   Department of Homeland Security (“DHS”), Chad F. Wolf, under the title of Acting Secretary of the

 6   Department of Homeland Security, U.S. Citizenship and Immigration Services (“USCIS”), and

 7   Kenneth Cuccinelli, under the title of Senior Official Performing the Duties of the Deputy Secretary

 8   of Homeland Security, pursuant to Rule 65 of the Federal Rules of Civil Procedure.

 9          Plaintiffs seek a preliminary injunction prohibiting Defendants from implementing the rule

10   DHS published in the Federal Register on August 3, 2020, 85 Fed. Reg. 46,788 (“Final Rule”).

11   Plaintiffs also petition this Court for review of the Final Rule and seek a stay of the effectiveness of

12   the Final Rule pursuant to Administrative Procedures Act (“APA”) 5 U.S.C. § 705. Plaintiffs so

13   move on the basis that: (1) they are likely to succeed on the merits of their claims under the APA, 5

14   U.S.C. §§ 702, 706, 553, and the Federal Vacancy Reform Act (“FVRA”), 5 U.S.C. § 3345 et seq.;

15   (2) Plaintiffs are likely to suffer irreparable harm absent provisional relief; and (3) the balance of

16   equities and the public interest weigh heavily in favor of maintaining the status. Nken v. Holder, 556

17   U.S. 418, 426 (2009). Plaintiffs’ Motion is based upon this Notice of Motion and Motion; the

18   Memorandum of Points and Authorities; the currently available administrative record; the supporting

19   declarations and exhibits filed concurrently herewith; the proposed Preliminary Injunction; and such

20   further evidence and argument as the Court may consider.

21    Date: August 25, 2020                                /s/ Brian J. Stretch
22
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 1                                    SUMMARY OF THE ARGUMENT

 2          This case challenges a final rule issued by the Department of Homeland Security (“DHS”)

 3   that drastically increases fees to apply for essential immigration benefits, including naturalization and

 4   asylum. 85 Fed. Reg. 46,788 (Aug. 3, 2020) (“Final Rule”). The Final Rule is unlawful and violates

 5   the Administrative Procedure Act (“APA”). Because Plaintiffs meet all standards for obtaining a

 6   preliminary injunction, the Court should issue an order to maintain the status quo. See E. Bay

 7   Sanctuary Covenant v. Barr, 964 F.3d 832, 845-46 (9th Cir. 2020) (“EBSC 2020”).

 8          (A) The Final Rule was proposed under Kevin McAleenan and issued under Chad Wolf when

 9   each was serving as Acting Secretary of DHS without valid authority under the Homeland Security

10   Act (“HSA”), see 6 U.S.C. § 113(g)(1), or the Federal Vacancies Reform Act (“FVRA”), see 5

11   U.S.C. § 3346(a)(1). Under the FVRA, the Final Rule has “no force or effect” and “may not be

12   ratified,” 5 U.S.C. § 3348 (d)(1)-(2); it “must” be “set aside” under the APA. 5 U.S.C. § 706(2)(D).

13          (B) The irregular rulemaking process denied “meaningful public participation,” see, e.g.,

14   California ex rel. Becerra v. U.S. Dep't of the Interior, 381 F. Supp. 3d 1153, 1173 (N.D. Cal. 2019)

15   (“Becerra”), because it (1) failed to disclose thinking and data that animated the proposal; and (2)

16   failed to provide sufficient time to comment on a complete proposal.

17          (C) The Final Rule is unlawful under 5 U.S.C. § 706(2)(A) because (1) it was promulgated

18   pursuant to invalid authority under the HSA and FVRA; (2) exceeds restrictions on the purpose of

19   fees under the Immigration and Nationality Act, (“INA”), see 8 U.S.C. § 1356(m) and the HSA, see 6

20   U.S.C. §§ 271, 252, 296 and (3) creates a financial barrier for the purpose of deterring asylum seekers

21   that is contrary to the INA and international law.

22          (D) The Final Rule is arbitrary and capricious because it (1) relies on baseless calculations; (2)

23   lacks “reasoned explanations” for reversing policies; (3) ignores data and serious problems; (4)

24   imposes an asylum fee to deter applicants; and (5) erects new financial barriers to citizenship without

25   sufficient justification. See, e.g., Becerra, 381 F. Supp. 3d at 1153.

26          (E) The Final Rule irreparably harms plaintiffs, the equities tip the balance sharply in their

27   favor, and an injunction is in the public interest. See EBSC 2020, 964 F.3d at 857-58.

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                                                          v
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2           This case challenges a final rule issued by the Department of Homeland Security (“DHS”)

 3   that drastically increases fees to apply for essential immigration benefits, including naturalization

 4   and asylum. 85 Fed. Reg. 46,788 (Aug. 3, 2020) (“Final Rule”). For the first time in U.S. history, the

 5   Final Rule imposes a non-waivable $50 fee to apply for asylum. Under the Final Rule, the fee for an

 6   asylum seeker to apply for status and initial work authorization with biometrics skyrockets from $0

 7   to $630. Reversing past practice, the Final Rule eliminates fee waivers for nearly all applicants

 8   seeking to naturalize. For many of the lowest income applicants, the Final Rule increases the fee for

 9   naturalization from $0 to $1,170.1 The Final Rule accomplishes this in a manner that is procedurally

10   defective, contrary to law, and arbitrary and capricious under the Administrative Procedure Act

11   (“APA”). Plaintiffs are likely to succeed on the merits, or at least raise “serious questions” going to

12   the merits, and they are irreparably harmed by the Final Rule. The balance of equities tips sharply in

13   their favor and an injunction is in the public interest. See E. Bay Sanctuary Covenant v. Barr, 964

14   F.3d 832, 845-46 (9th Cir. 2020) (“EBSC 2020”). For these reasons, the Court should enjoin the

15   Final Rule or stay the effective date to maintain the status quo until final resolution of the case.

16   I.      BACKGROUND

17           A.     The INA Established the Immigration and Examinations Fee Account (“IEFA”)
18           The United States Citizenship and Immigration Service (“USCIS”) deposits fees from

19   immigration applications into the IEFA. The fees are “for providing adjudication and naturalization

20   services.” 8 U.S.C. § 1356(m). Fees “may be set at a level that will ensure recovery of the full costs

21   of providing all such services, including the costs of similar services provided without charge to

22   asylum applicants or other immigrants.” Id. (emphasis added). USCIS previously understood that

23   “Congress directed that the IEFA fund the cost of asylum processing and other services provided to

24   immigrants at no charge,” Comp. ¶ 67. It also previously understood that Congress intended for the

25   agency to consider applicants’ “ability to pay” when setting fees. Id. ¶¶ 65-67.

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       For some forms, the Final Rule includes a $10 discount for filing online. This Motion refers to the
28   full fee unless otherwise noted.

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 1           B.     The Homeland Security Act Separated Immigration Services and Enforcement

 2           In 2002, the HSA reconfigured the agency formerly known as the Immigration and

 3   Nationalization Service (“INS”). Comp. ¶ 47. It transferred the “adjudication” of immigration

 4   benefits to a bureau is now USCIS. 6 U.S.C. § 271(b). It transferred “immigration enforcement

 5   functions” into another bureau that is now Immigration and Customs Enforcement (“ICE”) and

 6   Customs and Border Patrol (“CBP”). 6 U.S.C. §§ 251, 252(b)(2)(A). A provision titled “Prohibition”

 7   specifies that the two bureaus cannot be reorganized as one agency or “otherwise” joined together, or

 8   have their functions “consolidated.” 6 U.S.C. § 291(b). A provision entitled “Separation of

 9   Funding,” mandates separate budgets for the two bureaus, requires that “fees imposed for a

10   particular service, application or benefit shall be deposited” into the account of the bureau “with

11   jurisdiction over the function to which the fee relates,” , and provides that “no fee may be

12   transferred” between the separate bureaus, with only limited statutory exceptions. 6 U.S.C. § 296.

13           C.     USCIS Changes its Mission and Its Financial Projections Change Dramatically

14           USCIS previously described its mission in terms of service to immigrants. Comp. ¶ 73. That

15   mission changed in 2018, with a new focus on “securing the homeland.” Id. ¶¶ 74-75. USCIS

16   financial projections changed too. For FY2017, USCIS had a positive carryover of nearly $1 billion.2

17   In 2019, USCIS projected negative carryover over $1 billion in FY2020.3

18           D.     Kevin McAleenan, Chad Wolf and Ken Cuccinelli Assume New Titles Without
                    Authority
19

20           In April 2019, a series of events led Kevin McAleenan to assume the title of Acting Secretary

21   of DHS without authorization under the HSA or the FVRA. Comp. ¶ 248. On November 13, 2019,

22   Mr. McAleenan resigned and Chad Wolf assumed the title of Acting Secretary. Id. ¶¶ 250-52.

23   Defendant Kenneth Cuccinelli assumed the role of the Senior Officer Performing the Duties of

24   Deputy Secretary of Homeland Security. Id. ¶ 251. The GAO has since determined that each of these

25   appointments was unlawful. Id.; Decl. of Brian J. Stretch (“Stretch Decl.”) Ex. 1 (“GAO Decision”);

26   Stretch Decl. Ex. 2 (“GAO Reconsideration”).

27   2
      USCIS, Fiscal Year 2019 Congressional Budget Justification CIS-10, CIS-IEFA-6 (Feb. 22, 2018).
     3
      USCIS, FY 2019-2020 Immigration Examinations Fee Account: Fee Review Supporting
28   Documentation with Addendum 16 (May 2020), DHS No. USCIS-2019-0010-12271.

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 1             E.     DHS Initiates an Irregular Rulemaking Process

 2             On November 14, 2019, DHS issued its Notice of Proposed Rulemaking, 84 Fed. Reg.

 3   62,280 (Nov. 14, 2020) (“November Proposal”), signed under the name of Acting Secretary

 4   McAleenan, who had resigned the day before. Comp. ¶¶ 78, 252. The proposal was 92 pages,

 5   included six alternative fee schedules, and proposed transfers to ICE anywhere from $0 to $207

 6   million. Id. ¶¶ 79, 100. It reflected changes to 59 USCIS forms within a single proposal, contrary to

 7   past practice of conducting separate rulemakings for each rule change. Id. ¶ 105. The comment

 8   period ran until December 16, 2019 and included the Thanksgiving holiday. Id. ¶¶ 79, 81. It allowed

 9   just 32 days for public comment, in contrast to the 45-day and 60-day comment periods provided for

10   past fee rule proposals that were far less complex. Id. ¶ 78. On November 22, 2019, DHS changed

11   the supporting economic analysis on the regulatory docket without informing the public. Id. ¶ 80.

12             Just one week before the original deadline for comments, DHS published a “supplement”

13   signed by Defendant Wolf (“December Proposal”). Id. ¶ 81. It included a different set of budget

14   assumptions, reduced the proposed transfer to ICE by roughly $100 million, and extended the

15   comment deadline to December 30, 2019. Id. This gave commenters 21 days over major holidays to

16   comment, without a corresponding fee schedule or concrete fee adjustments. Id. ¶ 82. On January 24,

17   2020, DHS issued a notice that reopened the public comment period for another seventeen days,

18   with a deadline of February 10, 2020. Id. ¶ 83. One week before that deadline, USCIS finally

19   demonstrated its cost-modeling to interested parties, as promised in the November Proposal. Id. ¶ 84.

20             F.     DHS Provided Inconsistent Information to Congress and the Public
21             In May 2020, DHS told Congress that USCIS needed a $1.2 billion bailout due to COVID-

22   19. Comp. ¶ 107; Stretch Decl. Ex. 3 (DHS Letter to Sen. Shelby).4 But before the COVID

23   pandemic, DHS had projected a dramatic change in USCIS’s financial condition. Comp. ¶ 108.

24   Nevertheless, USCIS’s Deputy Director for Policy, Joseph Edlow, testified to the U.S. House of

25   Representatives’ Committee on the Judiciary, Subcommittee on Immigration and Citizenship that the

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         See also Stretch Decl. Ex. 31 (Sen. Leahy July Letter); Ex. 32 (Sen. Leahy August Letter).

                                                         3
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 1   COVID-19 pandemic was to blame. Id. ¶ 112. DHS later revised those projections and indicated

 2   USCIS would have a surplus rather than a deficit. Stretch Decl. Ex. 32 (Sen. Leahy August Letter).

 3            G.     The Final Rule Dramatically Increases Fees for Asylum and Naturalization
                     Without Explaining How USCIS Will Use The Majority of The New Funding
 4

 5            On August 3, 2020—the 264th day of Defendant Wolf’s purported tenure as Acting DHS

 6   Secretary—DHS issued the Final Rule. Defendant Wolf, “having reviewed and approved” the Final

 7   Rule, “delegat[ed] the authority to electronically sign” it to Chad Mizelle, “the Senior Official

 8   Performing the Duties of the General Counsel for DHS.” 85 Fed. Reg. at 46,913. The Final Rule

 9   projects a $1.4 billion increase in USCIS budgetary needs with more than 60% of the total budget

10   unexplained. Comp. ¶ 120.5 The Final Rule does this to cover a dramatic projected change in

11   USCIS’s financial condition, and its inexplicably skyrocketing costs. Comp. ¶¶ 120-121.

12   II.      LEGAL STANDARD

13            “A plaintiff seeking a preliminary injunction must establish that (1) he is likely to succeed on

14   the merits, (2) he is likely to suffer irreparable harm in the absence of preliminary relief, (3) the

15   balance of equities tips in his favor, and (4) an injunction is in the public interest.” EBSC, 950 F.3d

16   at 1271. These factors operate on sliding scale so an injunction may issue if “the likelihood of

17   success is such that ‘serious questions going to the merits were raised and the balance of hardships

18   tips sharply in [the requesting party’s] favor.’” All. for the Wild Rockies v. Cottrell, 623 F.3d 1127,

19   1132 (9th Cir. 2011); see also Nken v. Holder, 556 U.S. 418, 434 (2009) (applying the same factors

20   for a stay).

21   III.     ARGUMENT

22            A.     Plaintiffs Are Likely To Succeed In Their APA Claims Based on The Invalid
                     Appointments of Mr. McAleenan and Mr. Wolf
23

24            Neither Mr. McAleenan nor Mr. Wolf had valid authority to serve in their posts under the

25   FVRA, the HSA or the Appointments Clause of the U.S. Constitution. As a result, the Final Rule has

26
     5
      Compare 85 Fed. Reg. at 46,794 ($4.444 billion budget for FY2019/FY2020) with U.S. Citizenship
27   and Immigration Services Fee Schedule, 81 Fed. Reg. 73,292, 73,323 (Oct. 24, 2016) (“2016 Fee
     Rule”) ($3.038 billion budget for FY2016/2017); see also Rand Decl. ¶¶ 23-27.
28

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 1   “no force or effect” under the FVRA, 5 U.S.C. § 3347(a), and must be set aside under the APA. See

 2   5 U.S.C. § 706(2)(A), (C), (D) (rules issued “without observance of procedure required by law,”

 3   “not in accordance with law,” or “in excess of statutory authority” must be set aside).

 4          The tenures of both Mr. McAleenan and Mr. Wolf violated the FVRA. The DHS Secretary is

 5   a principal officer who must be appointed by the President, with the advice and consent of the

 6   Senate. 6 U.S.C. § 112(a)(1). The FVRA permits the Executive to fill the post with an Acting

 7   Official but for no “longer than 210 days beginning on the date the vacancy occurs,” absent a

 8   pending Senate nomination. 5 U.S.C. § 3346(a)(1). The last Senate-confirmed DHS Secretary

 9   resigned on April 7, 2019. Comp. ¶ 244. That means any Acting Official in the post after November

10   6, 2019 was serving in violation of the FVRA’s time limits. Because the Final Rule was proposed

11   and issued by Acting Officials after that date, it “shall have no force or effect,” under the FVRA.

12          In this case, Mr. McAleenan issued the proposed rule in violation of both the HSA and the

13   FVRA. The HSA provides that in the event of the “absence, disability, or vacancy in office” of the

14   Secretary, the Deputy DHS Secretary is first in the order of succession and the Under Secretary of

15   Management is second. 6 U.S.C. § 113(a)(1)(A), (g)(1). After the Deputy Secretary and Under

16   Secretary of Management, the HSA allows the DHS Secretary to “designate such other officers of

17   the Department in further order of succession to serve as Acting Secretary.” 6 U.S.C. § 113(g)(2).

18   The DHS Orders provided that in the event of Secretary Nielsen’s resignation, Executive Order

19   13753 would govern succession. Under that Order, then-CBP Commissioner McAleenan was

20   seventh in the line of succession and not third, as he asserted. See Stretch Decl. Ex. 1 (GAO

21   Decision). In all events, Mr. McAleenan lacked authority to issue the November Proposal because

22   his term already exceeded the 210-day term under FVRA, and he resigned before it was published.

23   Comp. ¶ 261.

24          Similarly, Mr. Wolf had no authority to approve the Final Rule on August 3, 2020. Id. ¶ 257.

25   On November 8, 2019, Mr. McAleenan purported to amend the DHS Orders so he could elevate Mr.

26   Wolf but Mr. McAleenan had no lawful authority to make that amendment. Comp. ¶¶ 249, 251.

27   Also, Mr. McAleenan amended the Orders after the 210-day limit for Acting Officials under the

28   FVRA. Therefore, the amendments had “no force or effect.” Comp. ¶ 251; 5 U.S.C. § 3348(d)(1),

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 1   (2); see also Stretch Decl. Ex. 1. Even if Mr. Wolf had authority under the HSA, the Final Rule has

 2   “no force and effect” under the FVRA because Mr. Wolf approved it on 264th day of his tenure.6

 3           B.     Plaintiffs Are Likely to Succeed on the Merits of Their Other APA Claims
 4                  1.      Defendants Violated the Procedural Requirements of the APA
 5                          a.     The Proposals Failed to Disclose the Agency’s Thinking and Data
 6           The Final Rule should be set aside because the Proposals failed to disclose adequate

 7   information about the thinking and data upon which the rule is based. See, e.g., Becerra, 381 F.

 8   Supp. 3d at 1173 (N.D. Cal. 2019) (citing Home Box Office, Inc. v. F.C.C., 567 F.2d 9, 35 (D.C. Cir.

 9   1977)). Here, “Congress intends some boundaries on the scope of the program that may be fee-

10   funded” so the public is entitled to information sufficient to determine whether the funded activities

11   fall within the scope of the statute. American Medical Ass’n v. Reno, 57 F.3d 1129, 1135 (D.C. Cir.

12   1995). The Proposals did not meet these standards.

13           At the most basic level, DHS failed to explain how the work of adjudicating applications

14   changed so dramatically that USCIS burned through surpluses and cash reserves from previous

15   years, and now projects an enormous deficit. Comp. ¶¶ 116-120. In FY2017, USCIS had a positive

16   carryover balance of nearly $1 billion. FY2019 Congressional Budget Justification at CIS-10, CIS-

17   IEFA-6. But then in April 2019, USCIS projected a negative carryover balance of more than $1

18   billion for FY2020. It now projects skyrocketing costs of adjudicating applications from $3.067

19   billion in 2017 to $4.783 billion in 2020 without explaining why costs have increased at such a

20   meteoric and unanticipated rate. See Comp. ¶¶ 98-99, 121. The Proposal did not explain how DHS

21   planned to use $672 million in funds the Final Rule would raise, leaving more than 60% of the

22   budget unexplained. Comp. ¶ 99. Without adequate information, the public could not determine if

23   fees would be used consistent with USCIS’s statutory mandate or instead to cover functions that are

24   “too far afield to be attributed” to adjudication services. American Medical Ass’n, 57 F.3d at 1135.

25

26
     6
       If the period is measured “beginning on the date the vacancy occurs” as mandated by 5 U.S.C.
27   § 3346—i.e., from the date that the Senate-confirmed Secretary Nielsen resigned—Defendant Wolf
     issued the Final Rule on the 484th day of the relevant period, over twice the 210-day limit allowed
28   by federal law.

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 1           Even for the few components of the budget the Proposals disclosed, it is unclear whether the

 2   fees collected would be used to provide adjudication services. As of 2018, USCIS interprets its

 3   mission and functions broadly to include “securing the homeland.” Comp. ¶ 74. The Proposals are

 4   not clear how USCIS allocates fees for this new mission. Comp. ¶ 123.7 Because the Proposals failed

 5   to adequately inform the public of “the terms or substance of the proposed rule,” the public was

 6   deprived a meaningful opportunity to comment. 5 U.S.C. § 553(b)(3), (c).

 7                          b.      Irregular Rulemaking Prevented Meaningful Comments
 8           The disjointed rulemaking process also impaired the public’s ability to meaningfully

 9   comment on the Proposals. See 5 U.S.C. § 553(c); Comp. ¶ 77. DHS provided information in fits-

10   and-spurts such that the public did not receive 60 consecutive days to prepare comments on a

11   complete proposal but rather 32 days with one proposal, and 21 days with a different and incomplete

12   proposal. Id. ¶¶ 85-86. And DHS only provided information about its cost-modeling software during

13   an in-person meeting with a few people just one week before the final deadline for comment. Id. ¶

14   84. The irregular comment period and partial releases of information were particularly problematic

15   because of the rule’s complexity, the variety of scenarios DHS offered, and the numerous related

16   forms. Id. ¶ 105. For context, past fee rules spanned from four to forty pages in the Federal

17   Register;8 this Final Rule spanned more than 142 pages. Such serious deviations from standard

18   rulemaking procedures warrant setting aside the Final Rule. Becerra, 381 F. Supp. 3d at 1178–79.

19                  2.      The Final Rule Is Contrary to Law and In Excess of Authority
20           The Final Rule “is not in accordance with law” and “in excess of authority” in at least three

21   ways. 5 U.S.C. § 706(2)(A); EBSC 2020, 964 F.3d at 845-46 (striking down asylum bars as

22   inconsistent with federal statutes).

23

24
     7
       For example, the Proposals assigned $122.75 million to new staff without specifying the tasks they
25   would perform. Id. ¶ 89. This is particularly troubling given the history of USCIS using staff to
     support CBP and ICE efforts, and the reported expansion of a USCIS “denaturalization” program
26   that serves ICE and DOJ enforcement efforts. Id. ¶¶ 76, 122.
     8
       See 63 Fed. Reg. 43,604 (Aug. 14, 1998) (7 pages); 69 Fed. Reg. 20,528 (Apr. 15, 2004) (“2004
27   Fee Rule”) (10 pages); 72 Fed. Reg. 29,851 (May 30, 2007) (“2007 Fee Rule”) (24 pages); 75 Fed.
     Reg. 58,962 (Sept. 24, 2010) (“2010 Fee Rule”) (31 pages); 81 Fed. Reg. 73,292 (Oct. 24, 2016)
28   (“2016 Fee Rule”) (41 pages).

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 1           First, the Final Rule violates the FVRA, the HSA, and the Appointments Clause because

 2   Kevin McAleenan and Chad Wolf acted without legal authority. See Part III.A., supra.9

 3           Second, the Final Rule violates the HSA’s separate funding provisions and the INA’s

 4   requirement that fees are to cover the cost of “adjudications.” See Section I.B., supra. Contrary to

 5   these provisions, the Final Rule charges fees for activities performed by CBP and ICE. Comp. ¶¶

 6   145, 149-55, 160; 85 Fed. Reg. at 46,871. The Final Rule also raises funds to double the size of the

 7   Fraud Detection and National Security directorate, which is a joint effort with ICE. Comp. ¶ 149. It

 8   does not explain why it now falls on USCIS to provide twice as many people to perform these joint

 9   duties.10 More fundamentally, it is implausible that USCIS burned through nearly $1 billion in

10   carryover only what DHS historically considered adjudicating applications. Comp. ¶ 119. The Final

11   Rule does not disclose how all that money was spent, but USCIS’s new mission suggests it has an

12   expansive view of its reach that crosses the HSA’s dividing line between adjudication and

13   enforcement. Comp. ¶¶ 156-60. There are at least serious questions as to whether funding this

14   broader mission contravenes the HSA’s separation of functions and funding. See American Medical

15   Ass’n, 57 F.3d at 1135.

16           Third, the asylum fees violate the INA and international law. The INA established that “any

17   person” who is physically present or arriving in the U.S. may seek asylum. 8 U.S.C. §§ 1101(a)(3),

18   1158(a); Comp. ¶ 197. Applying a fee for asylum without the possibility of a waiver violates that

19   provision because it prevents some people from applying for asylum. It also conflicts with the U.S.

20   commitment under the Refugee Act to accept refugees fleeing their countries, and not to return them

21   to places where they face persecution.11 The asylum fee is also unlawful because it is not intended

22   for cost recovery but deterrence; deterrence is not an “adjudication service” for which USCIS can

23   charge fees. See 8 U.S.C. § 1158(d)(3). Congress has already established penalties for fraudulent

24

25

26   9
       See also Stretch Decl. Ex. 4 (ASAP Comments) at 19-20.
     10
        U.S. Citizenship & Immigr. Servs., Immigration Examinations Fee Account: Fee Review
27   Supporting Documentation FY 2019 at 31 (Apr. 2019).
     11
        Comp. ¶ 33; Stretch Decl. Ex. 4 (ASAP Comments) at 4, 8-9; Stretch Decl. Ex. 5 (Lawyers for
28   Civil Rights Comments) at 5-6.

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 1   applications; it did not authorize USCIS to invent its own mechanisms. See 8 U.S.C. § 1158(d)(6).

 2   For these reasons too, the Final Rule is contrary to law and should be set aside.

 3                  3.      The Final Rule Is Arbitrary and Capricious
 4                          a.     The Final Rule Relies on Unexplained Calculations
 5          The Final Rule is arbitrary and capricious because DHS failed to provide the “essential facts

 6   upon which the administrative decision was based,” and justified decisions with conclusory

 7   statements rather than evidence. Kitchens v. Dep’t of Treasury, 535 F.2d 1197, 1200 (9th Cir. 1976).

 8          The Final Rule is meant to “bridge” an enormous new $1 billion gap between projected costs

 9   and revenues without explaining why the gap exists. See 84 Fed. Reg. at 62,288. It also aims to

10   cover a $1.4 billion budget increase while leaving $659 million of the budget entirely unexplained.

11   See Comp. ¶ 120, supra n.6. And the Final Rule reports skyrocketing costs for the adjudication of

12   applications without accounting for the dramatic increase it projects. Comp. ¶ 121. In 142 pages,

13   DHS does not provide any plausible explanation for why the cost of adjudicating applications has

14   increased by more than 45% in just 3 years.12 The lack of a plausible explanation for enormous

15   changes in the agency’s financial projections render the entire rule arbitrary and capricious. See Ctr.

16   for Biological Diversity v. U.S. Bureau of Land Mgmt., 698 F.3d 1101, 1109 (9th Cir. 2012) (agency

17   action may be arbitrary and capricious if the explanation is “implausible”).

18          The Final Rule’s projected revenues are also inconsistent with projections DHS provided to

19   Congress. DHS projected massive deficits to justify the dramatic increase in fees but then recently

20   informed Congress that it has a surplus and not a deficit. See Stretch Decl. Ex. 31 (Senator Leahy

21   July Letter). DHS has not adequately explained why the Final Rule’s projections are so far from

22   reality. At a minimum, they are too flawed to constitute a rational explanation for the fee increases

23   based on “essential facts,” or evidence beyond conclusory statements, Kitchens, 535 F.2d at 1200.

24                          b.     The Final Rule Does Not Rationally Justify Major Policy Changes
25          When an agency policy change “rests upon factual findings that contradict those which

26   underlay its prior policy,” or “when its prior policy has engendered serious reliance interests,” the

27   12
       Calculation compares the IEFA Non-Premium Budget for FY 2017 of $3.038 billion (see 81 Fed.
     Reg. at 73,323) and the Revised IEFA Non-Premium Budget for FY 2020 of $4.556 billion (see 85
28   Fed. Reg. at 46,794).

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 1   agency must “provide a more detailed justification.” FCC v. Fox TV Stations, Inc., 556 U.S. 502,

 2   515 (2009); see also Becerra, 381 F. Supp. 3d at 1166-68 (agency must” explain the inconsistencies

 3   between its prior findings . . . and its decision”). The Final Rule does not meet this standard.

 4          Every fee rule to date has incorporated ability-to-pay principles.13 As the Final Rule admits,

 5   USCIS fees “have given significant weight to the ability-to-pay principle.” 85 Fed. Reg. at 46,807.

 6   This established practice aligns with congressional instructions to keep naturalization and

 7   immigration benefits affordable. See, e.g., H.R. Rep. No. 115-948, at 61-62 (2018) (“USCIS is

 8   expected to continue the use of fee waivers for applicants who can demonstrate an inability to pay

 9   the naturalization fee” and “encourage[ing] USCIS to maintain naturalization fees at an affordable

10   level”); Comp. ¶ 59. Plaintiffs have structured their service models based on the ability-to-pay

11   principles USCIS has adhered to for decades. Byun Decl. ¶¶ 15, 25; Byrne Decl. ¶ 34; Chenoweth

12   Decl. ¶¶ 23, 27, 33, 37; Benito Decl. ¶¶ 29-30, 40; see Rodgers Decl. ¶¶ 19-25.

13          The Final Rule reverses course for “beneficiary-pays” principles it calls “equitable.” See,

14   e.g., 85 Fed. Reg. at 46,806, 46,819, 46,825, 46,890. But labeling something “equitable” does not

15   make it so. Here, commenters explained why the new fees were not equitable but DHS disregarded

16   their analyses and data.14 And DHS applies the purported “beneficiary-pay” principles only

17   inconsistently and without justifying deviations. See Am. Fed’n of Gov’t Emps., Local 2924 v. FLRA,

18   470 F.3d 375, 380 (D.C. Cir. 2006) (action “‘illogical on its own terms” is arbitrary and

19   capricious.”). For example, DHS deviates from the model to benefit religious organizations (I-360

20   form), see 85 Fed. Reg. at 46,841, and American families adopting children from overseas (I-

21   600A/600 Supplement 3), see id. at 46,850; 84 Fed. Reg. at 62,313. In all events, DHS previously

22   considered the ability-to-pay model more equitable and has not reasonably explained why it changed

23   its view. See 63 Fed. Reg. at 43,607.

24
     13
        See 2004 Fee Rule, 73 Fed. Reg. at 20,528 (“Any applicant or petitioner who has an ‘inability to
25   pay’ the fees may request a waiver.”); 2007 Fee Rule, 72 Fed. Reg. at 29,861 (describing factors
     USCIS analyzes to determine inability to pay); 2010 Fee Rule, 75 Fed. Reg. at 58,973 (explaining
26   USCIS waives fees “because a large percentage of applicants clearly would be unable to pay”); 2016
     Fee Rule, 81 Fed. Reg. at 73,297 (offering fee waivers because USCIS fees “may be overly
27   burdensome on applicants”).
     14
        Stretch Decl. Ex. 6 (NWG Comments) at 25; Stretch Decl. Ex. 10 (Justice Center Comments) at 5;
28   Stretch Decl. Ex. 11 (Boundless Comments) at 49.

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 1          DHS also claims that it does not believe its move to a beneficiary-pays model will prevent

 2   anyone from receiving immigration benefits. 85 Fed. Reg. at 46,806. But DHS previously offered

 3   fee waivers because “a large percentage of applicants would clearly be unable to pay” the fees. 75

 4   Fed. Reg. at 58,973. Even now, DHS acknowledges, “Limiting fee waivers may adversely affect

 5   some applicants’ ability to apply for immigration benefits.” Id. at 46,891. And it recognizes that the

 6   new asylum fee may “deter” some applicants. See RIA at 153. These contradictions undermine DHS

 7   purported “belief” that a beneficiary-pays model will not prevent anyone from applying for benefits.

 8                          c.      The Final Rule Ignores Data in the Record.
 9          DHS falsely asserts that it does not have data on critical issues when in fact the data was

10   provided to DHS in comments. These false assertions include15:
                • DHS “does not have data indicating that individuals will delay submitting
11
                   applications and petitions in response to the fee waiver policy.” 16
12              • DHS “does not have data indicating that its fees will impede naturalization.”17
                • DHS asserts it does not have data indicating that its fees will deter asylum
13                 applications (despite its expressed intent for this result, see Part III.B.3.d, infra).18
                • DHS asserts it does not have data indicating that the rule will have any impact on
14
                   disposable income or the poverty of certain families and children, including U.S.
15                 citizen children.19

16
     15
17      Multiple comments provide data; this list is not meant to be exhaustive but instead representative.
     16
        Compare 85 Fed. Reg. at 46,807 with Stretch Decl. Ex. 7 (RHF Comments) at 2 (research shows
18   fee waiver led to 75,000 increase in naturalization applications), Ex. 8 (Lutheran Comments) at 6
     (research shows fee waivers increase naturalization), Ex. 11 (Boundless Comments) at 6-7
19
     (availability of fee waivers has a dramatic effect on naturalization rate).
     17
20      Compare 85 Fed. Reg. at 46,798 with Stretch Decl. Ex. 6 (NWG Comments) at 6 (decision by an
     immigrant to naturalize is price sensitive), Ex. 9 (OneAmerica Comments) at 2-4 (describing data on
21   number of individuals eligible to naturalize and relationship to Federal Poverty Guidelines), Ex. 10
     (Justice Center Comments) at 4 (price increases for naturalization in 2004 and 2007 were a
22   significant barrier to citizenship for lower income immigrants) and Pastor Decl. ¶¶ 14-17.
     18
        Compare U.S. Citizenship & Immigr. Servs., Regulatory Impact Analysis on U.S. Citizenship and
23   Immigration Services Fee Schedule and Changes to Certain Other Immigration Benefit Request
     Requirements, Final Rule at 152-53 (July 22, 2020) (“RIA”) with Stretch Decl. Ex. 4 (ASAP
24   Comments) at 6-7 (asylum seekers often arrive with few, if any, financial resources), Ex. 10 (Justice
     Center Comments) at 2 (individuals lacking financial resources will effectively be barred from filing
25   asylum applications), Ex. 12 (NIRP Comments) at 10 (asylum application fees can represent a
     significant obstacle for individuals who recently arrived in the U.S. and who do not have
26   authorization to work).
     19
        Compare 85 Fed. Reg. at 46,906 with Stretch Decl. Ex. 13 (ILRC Comments) at 8 (proposed fee
27   increase would force a family to make the unconscionable choice of which family member can apply
     for and possibly attain asylum), Ex. 14 (CLINIC Comments) at 10, Ex. 15 (ILAP Comments) at 2
28   (proposed lawful permanent residency application costs is cost prohibitive for a family of five).

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 1   DHS’s refusal to address the data demonstrates a lack of rational decisionmaking. See, e.g., Ctr. for

 2   Biological Diversity, 698 F.3d at 1109.

 3                          d.      The $50 Fee on Asylum Applications Is Arbitrary and Capricious
 4          For the first time in U.S. history, the Final Rule imposes a non-waivable fee for asylum

 5   applications. Until now, DHS consistently interpreted the INA as directing USCIS not to charge a

 6   fee for asylum. Comp. ¶ 67. The public relied on this steady historical practice. Comp. ¶ 311. Now,

 7   DHS does not even acknowledge the change, much less explain it in a rational way that is consistent

 8   with the INA, or takes reliance into account. See Fox, 556 U.S. at 515. Instead, DHS says it expects

 9   the asylum fee to deter what it considers “frivolous” asylum applications. See RIA at 152-53. But

10   deterrence is not a factor Congress “intended for [DHS] to consider.” See Ctr. for Biological

11   Diversity, 698 F.3d at 1109. Also, Defendants offer no data to show that those with legitimate claims

12   are more likely to have fifty dollars than those with frivolous claims. Commenters suggest the

13   opposite is true; refugees most in need of asylum protections will have the fewest resources. Supra n.

14   18. See Cal. Energy Comm’n v. Dep’t of Energy, 585 F.3d 1143, 1152 (9th Cir. 2009) (agency action

15   is arbitrary and capricious if contrary to “common sense”). In all events, Congress could not have

16   intended DHS to factor “deterrence” of “frivolous” filings into application fees because it has

17   specifically legislated other penalties for that purpose. 8 U.S.C. § 1158(d)(6).

18          Defendants’ assertions are also internally inconsistent. Defendants say they have no data to

19   indicate that the $50 fee would impede asylum applicants. See 85 Fed. Reg. at 46,882, 46,895, but

20   that is not true.20 DHS previously concluded that fee exemptions were necessary because “a large

21   percentage of applicants would clearly be unable to pay” for services such as “refugee and asylum

22   processing.” 75 Fed. Reg. at 58,973. The Final Rule thus “runs counter to the evidence before the

23   agency.” Motor Vehicle Mfrs. Ass’n v. State Farm Auto Mut. Ins. Co., 463 U.S. 29, 43 (1983).

24                          e.      The Naturalization Fees Are Arbitrary and Capricious
25          The naturalization fee increase combined with the elimination of fee waivers for most

26   applicants reverses past practice without rational justification, and shows DHS “entirely failed to

27
     20
       See, e.g., Stretch Decl. Ex. 16 (Immigration Equality Comments) at 3 n.3, Ex. 18 (IRAP
28   Comments) at 5-8 (same), Ex. 17 (Latino Justice Comments) at 8 n.30; see also supra n.18.

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 1   consider an important aspect of the problem,” State Farm, 463 U.S. at 43. In particular, the Final

 2   Rule asserts that “the price elasticity for immigration services is inelastic” because “immigration to

 3   the United States remains attractive to millions of individuals around the world,” and so “increases

 4   in price will have no impact on the demand for these services.” 85 Fed. Reg. at 46,797. But DHS

 5   then admits it “does not know the price elasticity of demand for immigration benefits, nor does DHS

 6   know the level at which the fee increases become too high for applicants/petitioners to apply.” Id.

 7   DHS’s failure to calculate price elasticity defeats the exercise of setting fees because if volume

 8   substantially decreases, revenue will too.21 DHS ignores data in the record showing that their

 9   changes could decrease demand so much that the Final Rule will defeat its own purpose.22 DHS’s

10   statements also defy its previous conclusions supporting fee waivers. See supra at n.13.

11          The Final Rule also fails to adequately justify a major policy shift from ability-to-pay to

12   beneficiary-pays principles in the naturalization context. Naturalization was offered at significantly

13   below cost “in recognition of the social value of citizenship.” 85 Fed. Reg. at 46,799. The Final Rule

14   does not offer a rational justification for suddenly discounting that value in the analysis. See Fox,

15   556 U.S. at 515.23 That failure renders this new approach to naturalization arbitrary and capricious.

16          C.      The Final Rule Will Irreparably Harm Plaintiffs
17          The Final Rule causes “a significant change in [Plainiffs’] programs and a concomitant loss

18   of funding absent a preliminary injunction enjoining enforcement of the Rule.” EBSC 2020, 950

19   F.3d at1280. Plaintiffs are nonprofit organizations dedicated to promoting immigrant integration and

20   progress in the U.S.;24 to advance their mission, they help low-income immigrants apply for

21   immigration benefits, including naturalization and asylum.25 Plaintiffs have developed models for

22   21
        DHS’s position on inelasticity ignores 200 years of free-market economic theory demonstrating
     that when prices go up beyond the rate of inflation, demand goes down. Dep’t of Commerce v. New
23   York, 139 S. Ct. 2551, 2575-76 (2019) (the Court is “not required to exhibit a naiveté from
     which ordinary citizens are free.”).
24   22
        See, e.g., Stretch Decl. Ex. 13 (ILRC Comments) at Attach. E p. 3 n.5.
     23
        Unlike the current approach, the agency’s previous recognition of the social value of citizenship
25   comports with legislative intent as expressed in the INA. Comp. ¶¶ 44-46.
     24
        See Chenoweth Decl. ¶¶ 2-3; Rodgers Decl. ¶¶ 2-3; Salas Decl. ¶ 2; Stolz Decl. ¶¶ 2-3; Smith
26   Decl. ¶¶ 3-4; Byun Decl. ¶¶ 2-4; Byrne Decl. ¶¶ 2-4, 6; Benito Decl. ¶¶ 2-5. Their operations span
     36 states and the District of Columbia. See Chenoweth Decl. ¶¶ 12-13; Rodgers Decl. ¶ 4; Salas
27   Decl. ¶ 2; Stolz Decl. ¶ 5; Smith Decl. ¶ 4; Byun Decl. ¶ 2; Byrne Decl. ¶ 5; Benito Decl. ¶ 8.
     25
        Chenoweth Decl. ¶¶ 2-3, 32; Rodgers Decl. ¶¶ 2, 24; Salas Decl. ¶¶ 2, 14; Stolz ¶¶ 2-3, 33; Smith
28   Decl. ¶¶ 3-5, 7; Byun Decl. ¶¶ 2-5, 14; Byrne Decl. ¶¶ 2-4, 6, 27; Benito Decl. ¶¶ 5, 13.

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 1   delivery of services that rely on the ability-to-pay principle USCIS adhered to for decades. See

 2   Chenoweth Decl. ¶ 23; Smith Decl. ¶ 19; Byrne Decl. ¶ 34. Many rely on grants that require them to

 3   submit a certain number of applications each year. See, e.g., Stolz Decl. ¶¶ 12-15; Benito Decl. ¶¶

 4   14-15. The Final Rule will immediately slash the number of immigrants able to submit applications

 5   through Plaintiffs’ programs. See Rodgers Decl. ¶ 24; Stolz Decl. ¶¶ 24-27; Chenoweth Decl. ¶¶ 51-

 6   53; Smith Decl. ¶ 8. Many Plaintiffs will not be able fulfill grant requirements and their reputations

 7   will suffer. See Rodgers Decl. ¶ 25; Stolz Decl. ¶ 28; Chenoweth Decl. ¶¶ 39, 42; Smith Decl. ¶ 8.

 8          The Final Rule forced Plaintiffs to divert resources toward submitting as many applications

 9   as possible now despite the strain on staff (Smith Decl. ¶ 38; Stolz Decl. ¶ 34; Byun Decl. ¶ 29);

10   developing training materials (Chenoweth Decl. ¶¶ 42-49; Rodgers Decl. ¶¶ 26, 28; Smith Decl. ¶

11   40); conducting community outreach (Stolz Decl. ¶ 34; Salas Decl. ¶ 24); and reassessing budgets.

12   Salas Decl. ¶¶ 23-26; Rodgers Decl. ¶¶ 29-32.26 If the Rule takes effect, Plaintiffs will be forced to

13   pay the fees for asylum applicants to continue serving them. See Smith Decl. ¶¶ 23-27; Byrne Decl.

14   ¶ 24; Salas Decl. ¶¶ 29-33. Some, including CHIRLA members will not apply and others will have

15   to wait, delaying voting and family unification. Smith Decl. at ¶¶ 32-33; Salas Decl. at ¶¶ 29- 31.

16          D.      The Equities and Public Interest Factors Tip Sharply In Plaintiffs’ Favor
17           “The balance of the equities tip in [Plaintiffs’] favor and [] an injunction is in the public

18   interest.” Winter v. Nat. Resources Defense Council, 555 U.S. 7, 20 (2008). USCIS currently enjoys

19   a surplus of $416,044,074.27 Record evidence suggests that the volume of applications could

20   decrease if the Final Rule goes into effect and negate potential gains from fees. See supra 16-17 &

21   accompanying text. And USCIS admits the asylum fee has no net financial benefit. 85 Fed. Reg. at

22   46,894.28

23          On the other hand, an injunction will serve the public interest. The Final Rule will prevent

24   26
        See also Stolz Decl. ¶¶ 35-39; Smith Decl. ¶¶ 38-42; Byun Decl. ¶¶ 16, 18, 22, 28; Byrne Decl.
     ¶¶ 33-39; Benito Decl. ¶¶ 26, 39-42.
25   27
        See U.S. Dep’t of Homeland Sec., U.S. Citizenship & Immigr. Servs., Immigration Examinations
     Fee Account: Fiscal Year 2019 Report to Congress, Statement of Financial Condition, at 11 (June
26   23, 2020).
     28
        See also Rudebusch v. Hughes, 313 F.3d 506, 517 (9th Cir. 2002) (“no compelling government
27   interest” in adjusting salaries where no data supported the decision); League of Women Voters of
     U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (noting “substantial public interest” in having federal
28   agencies abide by the law).

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 1   vulnerable low-income individuals from applying for essential immigration benefits.29 The new,

 2   non-waivable fees on asylum and work authorization will block access to humanitarian

 3   protections,expose vulnerable people to the risk of detention and forced return to danger,30 and erect

 4   a hurdle to self-sufficiency that few can clear.31 In addition, more than a million low-income

 5   permanent residents will likely be deterred from applying for citizenship over the next five years.32

 6   This will harm cities and states,33and the public at-large will suffer because increased wages

 7   generated by naturalization yield more federal, state, and local taxes.34 Making naturalization less

 8   accessible also delays or prevents family unification because U.S. citizens can more easily sponsor

 9   family members from abroad for immigrant visas,35 and prevents low-income immigrants from

10   voting, serving as jurors, and running for elected office.36 These harms are irreparable.

11   IV.     CONCLUSION

12           For the foregoing reasons, Plaintiffs respectfully request that this Court issue a preliminary

13   injunction preventing implementation of the Final Rule or staying its effective date.

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20   29
        See 85 Fed. Reg. at 46,894 (“Some applicants may not be able to afford this fee and will no longer
21   be able to apply for asylum.”); Stretch Decl. Ex. 12 (NIRP Comments) at 10 (fees bar access to
     asylum); Stretch Decl. Ex. 14 (CLINIC Comments) at 20-21 (same); Ex. 22 (NILC Comments) at 6
22   & Ex. A at 4-5 & n.4.
     30
        Stretch Decl. Ex. 14 (CLINIC Comments) at 19-21; Ex. 28 (Seattle Comments) at 11-12.
     31
23      Stretch Decl. Ex. 24 (San Antonio Comments) at 6-7; Ex. 14 (CLINIC Comments) at 22-23.
     32
        Lawrence Decl. ¶ 7.
     33
24      Stretch Decl. Ex. 23 (Philadelphia Office of Immigrant Affairs Comments) at 13-14; Ex. 24 (San
     Antonio Comments) at 2-5; Ex. 25 (LIRS Comments) at 5-6 (citing Manuel Pastor and Justin
25   Scoggins, Citizen Gain: The Economic Benefits of Naturalization for Immigrants and the Economy
     (2012)); Ex. 12 (NIRP Comments) at 302 at 2.
26   34
        Stretch Decl. Ex. 13 (ILRC Comments) at 6, 18-19; Ex. 33 (San Francisco Comments) at 1-2.
     35
        See Stretch Decl. Ex. 27 (ACRS Comments) at 25 & n.103 at 12; Ex. 25 (LIRS Comments) at 5.
27   36
        Stretch Decl. Ex. 8 (Lutheran Comments) at 5 & n.11 (citing Pastor & Scoggins, supra); Stretch
     Decl. Ex. 28 (Seattle Comments) at 6 at 2; see also Ex. 24 (San Antonio Comments) at 3; Ex. 33
28   (San Francisco Comments) at 2.

                                                        15
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 1       Dated: August 25, 2020.             Respectfully submitted,

 2
                                             /s/ Brian J. Stretch
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